Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 1 of 13 Pageid#: 585




                          Exhibit D
                Examples of Necropsy Reports
           Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 2 of 13 Pageid#: 586




Confidential                                                                      ENVIGO_00000866
           Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 3 of 13 Pageid#: 587




Confidential                                                                      ENVIGO_00000867
           Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 4 of 13 Pageid#: 588




Confidential                                                                      ENVIGO_00000868
           Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 5 of 13 Pageid#: 589




Confidential                                                                      ENVIGO_00000869
           Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 6 of 13 Pageid#: 590




Confidential                                                                      ENVIGO_00000870
           Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 7 of 13 Pageid#: 591




Confidential                                                                      ENVIGO_00000871
           Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 8 of 13 Pageid#: 592




Confidential                                                                      ENVIGO_00000872
           Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 9 of 13 Pageid#: 593




Confidential                                                                      ENVIGO_00000873
          Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 10 of 13 Pageid#: 594




Confidential                                                                      ENVIGO_00000874
          Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 11 of 13 Pageid#: 595




Confidential                                                                      ENVIGO_00000875
          Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 12 of 13 Pageid#: 596




Confidential                                                                      ENVIGO_00000876
          Case 6:22-cv-00028-NKM Document 18-8 Filed 06/13/22 Page 13 of 13 Pageid#: 597




Confidential                                                                      ENVIGO_00000877
